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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                      Plaintiff,

               vs.

JOSEPH NICHOLAS COSTER,
                                                                   INDICTMENT
                  Defendant.
_________________________________/

       The Grand Jury charges:

                                   (Theft of Government Funds)

       Between in or about March 2016, and in or about March 2020, in the Western District of

Michigan, Southern Division,

                                   JOSEPH NICHOLAS COSTER

knowingly and intentionally stole, purloined, and converted to his own use money of an agency of

the United States. Specifically, following the death of his brother, Bernard Trost, the defendant

converted to his own use approximately $48,600.90 in Title II retirement benefits that the Social

Security Administration directly deposited into Trost’s bank account, which defendant had access

to and used.

18 U.S.C. § 641

                                             A TRUE BILL

                                             __________________________________
                                             GRAND JURY FOREPERSON
MARK A. TOTTEN
United States Attorney

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KATE ZELL
Assistant United States Attorney
